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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,         )
                                  )
             v.                   )          Cr. No. 94-10287-MLW
                                  )
FRANCIS P. SALEMME,               )
               Defendant          )

                                  ORDER

WOLF, D.J.                                            February 4, 2013

     The   January   24,   2013   Order   (the   "Order")   requires   the

government to produce to defendant James J. Bulger, by February 5,

2013 and subject to the Order, the documents in the government's

December 11, 2012 Submission, as revised in the January 8, 2013

Submission, if the affidavits required by paragraph 1(d) of the

Order have been filed by February 1, 2013. It is not now clear to

the court whether all of the affidavits required by paragraph 1(d)

of the Order have been submitted.

     In view of the foregoing, it is hereby ORDERED that the

November 6, 2012 and December 5, 2012 Orders remain in effect and,

therefore, the government shall not produce to defendant the

documents in the government's December 11, 2012 Submission, as

revised in the January 8, 2013 Submission, without further order of

this court.



                                                 /s/ Mark L. Wolf
                                          UNITED STATES DISTRICT COURT
